Case 2:18-cv-11150-AJT-RSW ECF No. 58,
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                                                                      1   1 of 2                        (1 of 2)




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt              POTTER STEWART U.S. COURTHOUSE                    Tel. (513) 564-7000
       Clerk                        CINCINNATI, OHIO 45202-3988                  www.ca6.uscourts.gov




                                                   Filed: January 23, 2020




                     Re: Case No. 19-1631, Angelo E. Iafrate, et al v. Angelo Iafrate, Inc., et al
                         Originating Case No. : 2:18-cv-11150

Dear Counsel,

   The Court issued the enclosed Order today in this case. Please note the corrected caption that

should be used when filing documents with this Court.

                                                   Sincerely yours,

                                                   s/Cheryl Borkowski
                                                   Case Manager
                                                   Direct Dial No. 513-564-7035

cc: Mr. David J. Weaver

Enclosure
Case 2:18-cv-11150-AJT-RSW ECF No. 58,
            Case: 19-1631 Document: 39-2PageID.853   Filed 01/23/20
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                                          Case No. 19-1631

                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT

                                              ORDER

ANGELO E. IAFRATE, Individually and in his capacity as personal executor/representative of
the estate of Angelo Iafrate, Sr. and as successor co-trustee of the trust; DOMINIC IAFRATE;
REBECCA IAFRATE, as successor co-trustee of the trust

               Plaintiffs - Appellants

v.

ANGELO IAFRATE, INC.; ROBERT ADCOCK

               Defendants - Appellees



     Upon consideration of the appellant’s motion for substitution of parties,

     It is ORDERED tha the motion be and it hereby is GRANTED. Angelo Iafrate, Sr. has been

replaced by Angelo E. Iafrate and Rebecca Iafrate has been added as an appellant.



                                                   ENTERED PURSUANT TO RULE 45(a),
                                                   RULES OF THE SIXTH CIRCUIT
                                                   Deborah S. Hunt, Clerk


Issued: January 23, 2020
                                                   ___________________________________
